Case 1:20-cv-02842-PAB-MEH Document 1-1 Filed 09/18/20 USDC Colorado Page 1 of 1




                                    MOTION PICTURE           Certificate
                OWNER
                                                              Number
                                        Hunter Killer        PA2147752
              Hunter Killer
             Productions, Inc.
                                      Angel Has Fallen       PA2197434
         Fallen Productions, Inc.
                                    Rambo V: Last Blood      PA2202971
          Rambo V Productions,
                 Inc.
          LHF Productions, Inc.      London Has Fallen      PA0001982831

          Millennium Funding,            Mechanic:
          Inc. (previously ME2                               PA1998057
                                        Resurrection
            Productions, Inc.)
           HB Productions, Inc.           Hellboy            PA2176664

          Stoic Productions, Inc.     Acts of Vengeance     PA0002111678

         Voltage Holdings, LLC      Once Upon a Time in
         (previously Venice PI,                             PA0002039391
                                          Venice
                 LLC)
          Gunfighter Productions    Disturbing the Peace    PAu003991009
                  LLC
              SF Film, LLC                  Skin            PA0002173645

           Definition Delaware,     The Professor and The
                                                            PAu003920383
                   LLC                    Madman

         Voltage Holdings, LLC        Extremely Wicked      PAu003953148,
          (previously Wicked           Shockingly Evil       PAu00390567
             Nevada, LLC)
         After Productions, LLC             After           PAu003973225


                                    Exhibit “1”
